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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


Civil Action No. __1:25-cv-00425 STV

TINA M. PETERS, Applicant,

             v.

JOHN FEYEN, in his official capacity as Sheriff of Larimer County, Colorado,
and PHILIP J. WEISER, in his official capacity as Attorney General of the State
of Colorado, Respondents

__________________________________________________________________

    APPLICANT’S MOTION FOR LEAVE TO FILE BRIEF ON ISSUES
    RAISED BY U.S.A. NOTICE OF INTEREST AND RESPONDENT’S
                       MOTION TO STRIKE



      Applicant Tina Peters, through counsel, moves for leave of Court to file a

brief, not to exceed ten pages, plus exhibits, on or before March 26, 2025, on the

issues raised by the Statement of Interest, filed by the United States of America,

and the Motion to Strike filed by Respondents.

      The undersigned has conferred with all counsel and is authorized to state

that Respondents take no position on this motion, and the United States of America

does not oppose it.
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Respectfully Submitted March 14, 2025.

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Robert J. Cynkar                             John Case
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                    Co-counsel for Applicant Tina M. Peters




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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 14, 2025, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will cause an

electronic copy of same to be served on opposing counsel via the email addresses

that opposing counsel has registered with the Court’s ECF system.



                                                    s/ Linda Good




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